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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
                                 BOSTON DIVISION

 STUDENTS FOR FAIR ADMISSIONS, INC.,
           Plaintiff,
      v.
                                                            Civil Action No. 1:14-cv-14176-ADB
 PRESIDENT AND FELLOWS OF HARVARD
 COLLEGE,
           Defendant.

       SFFA’S OFFER OF PROOF OF THE DEPOSITION DESIGNATIONS OF
          CHRISTINA LOPEZ, CASEY PEDRICK, AND FABIO ZULUAGA

       SFFA offered deposition designations of the following three witnesses: (1) Christina Lopez,

a Rule 30(b)(6) representative for the Association of Black Admissions and Financial Aid Officers of

the Ivy League and Sister Schools; (2) Casey Pedrick, a Rule 30(b)(6) representative for Stuyvesant

High School; and (3) Fabio Zuluago, a Rule 30(b)(6) representative for Thomas Jefferson High

School. The Court ruled that the deposition designations of these witnesses should be excluded on

relevance grounds under Rules 401 and 402. Therefore, SFFA submits the transcripts of the

deposition designations as Exhibits 1, 2, and 3 to ensure a complete record.
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Dated: October 30, 2018           Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the ECF system will be sent electronically

to the registered participants as identified in the Notice of Electronic Filing (NEF) and paper copies

will be sent to those indicated as non-registered participants on this 30th day of October, 2018.



                                                      /s/ Adam K. Mortara




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